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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Wade Park Land Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  45 Ansley Drive
                                  Newnan, GA 30263
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Coweta                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Dallas North Tollway Frisco, TX
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Wade Park Land Holdings, LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Wade Park Land, LLC                                             Relationship            Affiliate
                                                             Northern District of
                                                  District   Georgia                       When       8/26/20                Case number, if known

Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   Wade Park Land Holdings, LLC                                             Case number (if known)
         Name




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Debtor   Wade Park Land Holdings, LLC                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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Debtor    Wade Park Land Holdings, LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 26, 2020
                                                  MM / DD / YYYY


                             X   /s/ Stanley E. Thomas                                                    Stanley E. Thomas
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Signatory




18. Signature of attorney    X   /s/ David L. Bury, Jr.                                                    Date August 26, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David L. Bury, Jr. 133066
                                 Printed name

                                 Stone & Baxter, LLP
                                 Firm name

                                 577 Mulberry Street, Suite 800
                                 Macon, GA 31201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     478-750-9898                  Email address      dbury@stoneandbaxter.com

                                 133066 GA
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Wade Park Land Holdings, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alliant Insurance                                               Trade Payable                                                                                        $2,154,286.35
 Services, Inc.
 701 B Street, 6th
 Floor
 San Diego, CA
 92101
 Andres                                                          Trade Payable                                                                                          $432,703.10
 Construction
 Services, LLC
 3710 Rawlins, Suite
 1510
 Dallas, TX 75219
 B2 and Company                                                  Trade Payable                                                                                          $214,830.41
 Exponential
 5379 Old Ranch
 Road
 Park City, UT 84098
 Bristol Development                                             Trade Payable                                                                                          $514,474.00
 Group, LLC
 381 Mallory Station
 Road, Suite 204
 Franklin, TN 37067
 Capform, Inc.                                                   Trade Payable                                                                                          $300,000.00
 1455 Halsey Way
 Carrollton, TX 75007
 CB Richard Ellis,                                               Trade Payable                                                                                          $514,419.56
 Inc.
 P.O. Box 406588,
 Location Code 2281
 Atlanta, GA
 30384-6588
 City of Frisco, Texas                                           Trade Payable                                                                                        $3,528,679.54
 6101 Frisco Square
 Blvd., 3rd Floor
 Frisco, TX 75034




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Wade Park Land Holdings, LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Falcon Realty                                                   Trade Payable                                                                                          $385,000.00
 Advisors, LLC
 16000 N. Dallas
 Parkway, Suite 225
 Dallas, TX 75248
 First Insurance                                                 Trade Payable                                                                                          $458,773.24
 Funding Corp.
 450 Skokie Blvd.,
 Suite 1000
 Northbrook, IL
 60062-7917
 Hillcrest Realty                                                Trade Payable                                                                                          $300,000.00
 Advisors, Inc.
 2170 Lakeshore
 Drive
 Agoura Hills, CA
 91301
 John D. Phillips                                                Trade Payable                                                                                        $4,828,160.06
 4230 Glen Devon
 Drive
 Atlanta, GA 30327
 Keaton Interiors,                                               Trade Payable                                                                                          $114,865.35
 Inc.
 4444 Spring Valley
 Road
 Dallas, TX 75244
 Kimley-Horn and                                                 Trade Payable                                                                                          $128,922.07
 Associates, Inc.
 P.O. Box 951640
 Dallas, TX
 75395-1640
 Plat Form Real                                                  Trade Payable                                                                                          $873,156.00
 Estate
 2501 Jarratt Avenue
 Austin, TX 78703
 SWA Group                                                       Trade Payable                                                                                          $113,802.61
 P.O. Box 5904
 Sausalito, CA 94966
 The Greeby                                                      Trade Payable                                                                                          $157,141.81
 Companies, Inc.
 611 Rockland Road,
 Suite 106
 Lake Bluff, IL 60044
 The McDevitt                                                    Trade Payable                                                                                          $148,070.07
 Company
 1121 Admiral Peary
 Way
 Philadelphia, PA
 19112




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Wade Park Land Holdings, LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Venture Commercial                                              Trade Payable                                                                                          $113,093.60
 Real Estate, LLC
 8235 Douglas
 Avenue, Suite 720
 Dallas, TX 75225
 Wade Park Finance                                               Financing                                                                                            $4,750,000.00
 Company A1
 c/o NYSA Capital
 3424 Peachtree
 Road NE - Suite
 1150
 Atlanta, GA 30326
 Wakefield Beasley &                                             Trade Payable                                                                                        $2,930,638.29
 Associates
 5200 Avalon
 Boulevard
 Alpharetta, GA
 30009




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                                      Northern District of Georgia
 In re      Wade Park Land Holdings, LLC                                                                              Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Wade Park Ventures, LLC                                                              100%                                       Membership Interest
 45 Ansley Drive
 Newnan, GA 30263


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Authorized Signatory of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date August 26, 2020                                                        Signature /s/ Stanley E. Thomas
                                                                                            Stanley E. Thomas

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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for the Company in connection with the Chapter 11 Case, along with such other professionals as

may be deemed necessary or prudent to further the Company’s reorganization; and it is further

         RESOLVED, that the form of petition under Chapter 11 presented to the members at the

meeting be, and the same hereby is approved and adopted in all respects, and that Stanley E.

Thomas be, and he hereby is, authorized and directed, on behalf of and in the name of this

Company, to execute and verify petitions substantially in such form and to cause the same to be

filed with the United States Bankruptcy Court for the Northern District of Georgia, Newnan

Division; and it is further

         RESOLVED, that Stanley E. Thomas and the Company’s employees and other

authorized agents be, and they hereby are, authorized to execute and file all petitions, schedules,

lists, and other papers, and to take any and all actions which they may deem necessary or proper

in connection with such case under said Chapter 11, and in that connection to retain and

employee all assistance by legal counsel or otherwise which they may deem necessary or proper

with a view to the successful termination of such case.

         This 2nd day of March, 2018.


                                                                   _____________________________
                                                                   Stanley E. Thomas, Manager

                                                                   _____________________________
                                                                   Mathew J. Marzucco
                                                                   Special Member/Independent Manager
                                                                   Wade Park Land Holdings, LLC


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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Wade Park Land Holdings, LLC                                                                  Case No.
                                                                                    Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Authorized Signatory of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       August 26, 2020                                             /s/ Stanley E. Thomas
                                                                         Stanley E. Thomas/Authorized Signatory
                                                                         Signer/Title




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                        Alliant Insurance Services, Inc.
                        701 B Street, 6th Floor
                        San Diego, CA 92101



                        Alpha Testing, Inc.
                        2209 Wisconsin Street
                        Dallas, TX 75229



                        Andres Construction Services, LLC
                        3710 Rawlins, Suite 1510
                        Dallas, TX 75219



                        Anthropology
                        Attn: Chief Executive Officer
                        5000 S. Broad Street
                        Philadelphia, PA 19101-2000



                        Arhaus, LLC
                        Attn: CFO
                        51 East Hines Hill Road
                        Hudson, OH 44236



                        Azure Blue, Ltd.
                        1240 Old Jones Road
                        Alpharetta, GA 30004



                        B2 and Company Exponential
                        5379 Old Ranch Road
                        Park City, UT 84098



                        Balfour Beatty Construction, LLC
                        600 Galleria Parkway, Suite 1500
                        Atlanta, GA 30339



                        Bristol Development Group, LLC
                        381 Mallory Station Road, Suite 204
                        Franklin, TN 37067
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                    Capform, Inc.
                    1455 Halsey Way
                    Carrollton, TX 75007



                    CB Richard Ellis, Inc.
                    P.O. Box 406588, Location Code 2281
                    Atlanta, GA 30384-6588



                    CCP Real Estate Advisors
                    California Commercial Partners, Inc.
                    140 Newport Center Drive, Suite 120
                    Newport Beach, CA 92660



                    Christopher B. Manor Jr.
                    1920 Woodsdale Road NE
                    Atlanta, GA 30324



                    City of Frisco, Texas
                    6101 Frisco Square Blvd., 3rd Floor
                    Frisco, TX 75034



                    Coffman Engineers, Inc.
                    10 N. Post Street, #500
                    Spokane, WA 99201



                    Cunningham Lindsey U.S., Inc.
                    2897 Momentum Place
                    Chicago, IL 60689



                    Dale Grimes Enterprises, Inc.
                    7434 North Lamar
                    Austin, TX 78752



                    Duncan Interiors, Inc.
                    1203 Dragon Street
                    Dallas, TX 75207
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                    Dyna Ten Corporation
                    4375 Diplomacy Rd.
                    Fort Worth, TX 76115



                    Falcon Realty Advisors, LLC
                    16000 N. Dallas Parkway, Suite 225
                    Dallas, TX 75248



                    FC Wade Park, LLC
                    Attn: Brian Stoll
                    4455 East Camelback Road, B-100
                    Phoenix, AZ 85018



                    First Insurance Funding Corp.
                    450 Skokie Blvd., Suite 1000
                    Northbrook, IL 60062-7917



                    Fourth Quarter Properties 100, LLC
                    45 Ansley Drive
                    Newnan, GA 30263



                    Frank Seely
                    8312 Club Ridge Drive
                    Austin, TX 78735



                    Free People
                    Attn: Chief Executive Officer
                    5000 S. Broad Street
                    Philadelphia, PA 19101



                    Free Range WP, LLC
                    8111 Preston Road, Suite 610
                    Dallas, TX 75225



                    Gamma Lending Omega LLC
                    c/o Jonathan Kalikow
                    101 Park Avenue, 11th Floor
                    New York, NY 10178
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                    Gerney Research Group, LLC
                    400 Hartman Road
                    Muncy, PA 17756



                    Hartman Simons & Wood, LLP
                    6400 Powers Ferry Road, NW, Suite 400
                    Atlanta, GA 30339



                    Hayward Baker, Inc.
                    7550 Teague Rd., Suite 300
                    Hanover, MD 21076



                    Hillcrest Realty Advisors, Inc.
                    2170 Lakeshore Drive
                    Agoura Hills, CA 91301



                    Hopdoddy
                    512 E. Riverside Drive, Suite 150
                    Austin, TX 78704



                    ID Studio 4, LLC
                    1431 Greenway Drive, Suite 510
                    Irving, TX 75038



                    iPic Texas, LLC
                    433 Plaza Real Boulevard, Suite 335
                    Boca Raton, FL 33432



                    Jay-Kay & Co.
                    Attn: Jayme Pearson
                    4956 Alaska Road
                    Levelland, TX 79336



                    John D. Phillips
                    4230 Glen Devon Drive
                    Atlanta, GA 30327
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                    Jones Lang Lasalle Brokerage, Inc.
                    95028 Treasury Center
                    Chicago, IL 60694



                    Joy Macarons Wade Park, LLC
                    1110 N. Edgefield Avenue
                    Dallas, TX 75208



                    Keaton Interiors, Inc.
                    4444 Spring Valley Road
                    Dallas, TX 75244



                    Kimley-Horn and Associates, Inc.
                    P.O. Box 951640
                    Dallas, TX 75395-1640



                    Lerch Bates, Inc.
                    8089 South Lincoln Street, Suite 300
                    Littleton, CO 80122



                    Lovell Public Relations, Inc.
                    10455 N. Central Expressway Suite 109-35
                    Dallas, TX 75231



                    Luxe Bars, Inc.
                    Attn: Sam Darwish
                    3727 Broadmoor Way
                    Frisco, TX 75033



                    MiniLuxe, Inc.
                    One Faneuil Hall Square, 7th Floor
                    Boston, MA 02109



                    Orlando Bathing Suit, LLC
                    Attn: Sheila Arnold, President
                    5337 Millenia Lake Blvd, Suite 400
                    Orlando, FL 32839
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                    Paneez Enterprises
                    5729 Lebanon Road, Suite 144-255
                    Frisco, TX 75034



                    Paper Source, Inc.
                    Attn: James C. Solon, COO
                    125 S. Clark Street, 15th Floor
                    Chicago, IL 60603



                    Paracorp, Inc. d/b/a Parasec
                    P.O. Box 160568
                    Sacramento, CA 95816-0568



                    Paul Hastings, LLP
                    515 South Flower Street, 25th Floor
                    Los Angeles, CA 90071-2228



                    Peloton Real Estate Partners, LLC
                    P.O. Box 12086
                    Dallas, TX 75225



                    Phillip Davis
                    P. O. Box 4388
                    Horseshoe Bay, TX 78657



                    Pie Tap Wade Park, LLC
                    Attn: Mr. Rich Hicks
                    5212 Tennyson Parkway, Suite 120
                    Plano, TX 75024



                    Pinstripes, Inc.
                    Attn: Dale Schwartz, CEO
                    1150 Willow Road
                    Northbrook, IL 60062



                    Plat Form Real Estate
                    2501 Jarratt Avenue
                    Austin, TX 78703
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                    Potbelly Sandwich Works, LLC
                    Attn: Real Estate Vice President
                    111 N. Canal Street, Suite 850
                    Chicago, IL 60606



                    Premier Food Concepts, LLC
                    9255 Towne Centre Drive #950
                    San Diego, CA 92121



                    Reef Point Yoga
                    c/o Dain and Kathi Ehring
                    1430 Dragon Street, #27
                    Dallas, TX 75207



                    RSM Design
                    160 Cabrillo
                    San Clemente, CA 92672



                    Sequoia Restaurant & Entertainment
                    610 Newport Center Drive, Suite 500
                    Newport Beach, CA 92660



                    Shop Concepts, LLC
                    4809 Cole Avenue, Suite 330
                    Dallas, TX 75205



                    Spring Communications Holding, Inc.
                    Attn: Legal Dept. (c/o GS Mobile, Inc.)
                    625 Westport Parkway
                    Grapevine, TX 76051



                    SRS Real Estate Partners-SW, LLC
                    8343 Douglas Avenue, Suite 200
                    Dallas, TX 75225



                    Stablemade Retail Group
                    4300 N. Central Expressway, Suite 365
                    Dallas, TX 75206
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                    Starbucks Corporation
                    P.O. Box 34067
                    Seattle, WA 98124-1067



                    Steak 48 Frisco, LLC
                    c/o Jeffrey Mastro
                    8355 E. Hartford Drive, Suite 100
                    Scottsdale, AZ 85255



                    Steel Pops DTX, LLC
                    2821 Central Avenue, Suite 109
                    Birmingham, AL 35209



                    Stormco, LLC
                    900 Circle In the Woods
                    McKinney, TX 75069



                    Success Foods Management Group, LLC
                    Attn: Lease Administration
                    4501 Springdale Road
                    Austin, TX 78723



                    Superscapes, Inc.
                    1500 Capital Drive
                    Carrollton, TX 75006



                    Sur La Table, Inc.
                    6100 Fourth Avenue South, Suite 500
                    Seattle, WA 98108



                    SWA Group
                    P.O. Box 5904
                    Sausalito, CA 94966



                    Tatum Hillman Hickerson & Powell, LLC
                    1199 Oxford Road, NE
                    Atlanta, GA 30306
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                    TD Ameritrade, Inc.
                    Attn: Corporate Real Estate
                    1 Plaza Four A
                    Jersey City, NJ 07311-4000



                    Terracon Consultants, Inc.
                    6911 Blanco Road
                    San Antonio, TX 78216



                    The Greeby Companies, Inc.
                    611 Rockland Road, Suite 106
                    Lake Bluff, IL 60044



                    The McDevitt Company
                    1121 Admiral Peary Way
                    Philadelphia, PA 19112



                    The Retail Connection
                    2525 McKinnon, Suite 7000
                    Dallas, TX 75201



                    Timothy Haahs & Associates, Inc.
                    12725 Morris Road Extension
                    Deerfield Point 100, Suite 150
                    Alpharetta, GA 30004



                    Universal City Management III, LLC
                    45 Ansley Drive
                    Newnan, GA 30263



                    Venture Commercial Real Estate, LLC
                    8235 Douglas Avenue, Suite 720
                    Dallas, TX 75225



                    Vilhauer Enterprises, LLC
                    5760 State Highway 121, Suite 250
                    Plano, TX 75024
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                    Von Anthony Salon, Inc.
                    Attn: Kerry Hovland
                    11821 Mirage Lane
                    Frisco, TX 75033



                    Wade Park Finance Company A1
                    c/o NYSA Capital
                    3424 Peachtree Road NE - Suite 1150
                    Atlanta, GA 30326



                    Wade Park Land, LLC
                    45 AnsleyDrive
                    Newnan, GA 30263



                    Wade Park Series of Need 4 Zen, LLC
                    Attn: Bruce McGovern
                    4404 Trotter Lane
                    Flower Mound, TX 75028



                    Wade Park Ventures, LLC
                    45 Ansley Drive
                    Newnan, GA 30263



                    Wakefield Beasley & Associates
                    5200 Avalon Boulevard
                    Alpharetta, GA 30009



                    Waveguide Consulting, Inc.
                    One West Court Square, Suite 300
                    Decatur, GA 30030



                    Whole Foods Market, Inc.
                    Attn: General Counsel
                    550 Bowie Street
                    Austin, TX 78703



                    William A. Akin
                    2767 Ranch Road
                    Athens, TX 75751
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                    Winstead, PC
                    2728 N. Harwood Street
                    Dallas, TX 75201



                    WP Development Partners LLC
                    c/o Jonathan Kalikow
                    101 Park Avenue, 11th Floor
                    New York, NY 10178



                    Yard House USA, Inc.
                    Attn: Robert T. Rickets
                    1000 Darden Center Drive
                    Orlando, FL 32837
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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Wade Park Land Holdings, LLC                                                                Case No.
                                                                                    Debtor(s)           Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Wade Park Land Holdings, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Wade Park Ventures, LLC
 45 Ansley Drive
 Newnan, GA 30263




    None [Check if applicable]




 August 26, 2020                                                       /s/ David L. Bury, Jr.
 Date                                                                  David L. Bury, Jr. 133066
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Wade Park Land Holdings, LLC
                                                                       Stone & Baxter, LLP
                                                                       577 Mulberry Street, Suite 800
                                                                       Macon, GA 31201
                                                                       478-750-9898 Fax:478-750-9899
                                                                       dbury@stoneandbaxter.com




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